           Case 2:05-cr-00185-JCM-LRL Document 30 Filed 10/19/20 Page 1 of 2




 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 United States of America,                            Case No.: 2:05-cr-00084-JCM-LRL
                                                        and 2:05-cr-00185-JCM-LRL
 4          Plaintiff

 5          v.
                                                                     Minute Order Re:
 6     Joseph Nocedal,                                               In-Person Hearing

 7          Defendant.

 8

 9         IT     IS     HEREBY        ORDERED          that    an     in-person      hearing       re:

10 Revocation of Supervised Release will be        conducted    in   Courtroom     6A of      the

11 Lloyd D. George Courthouse at 10:30 AM on October 30, 2020.

12         The Court is closely following and reinforcing the guidelines from the CDC and other

13 relevant health authorities and is taking precautionary measures to limit the potential spread of

14 the COVID-19 virus. For example:
      •   All visitors to the courthouse will be required to maintain a social distance of at least six
15        feet and either wash their hands or use hand sanitizer before entering the courtroom.
16
      •   Inside the courtrooms, chairs, tables, and microphones that have been utilized will be
          cleaned after each hearing. Counsel are encouraged to bring disinfectant wipes to clean
17
          the surface areas utilized to their own comfort level as well.
18
      •   Hearing attendees are encouraged to bring and wear personal protective equipment
          including face masks, gloves, or other protective coverings.
19

20    •   Documents that will be referenced or utilized during a hearing must be emailed to the
          Courtroom Deputy and any other necessary recipient (e.g., opposing counsel, defendant)
21        at least 24 hours before the hearing.

22    •   Any necessary signed documents must be filed at least one day before the scheduled
          hearing as required by General Order 2020-05.
23
          If you do not feel well, contact the Courtroom Deputy immediately to reschedule
          Case 2:05-cr-00185-JCM-LRL Document 30 Filed 10/19/20 Page 2 of 2




 1 this hearing or make arrangements to attend it remotely. DO NOT COME TO THE

 2 COURTHOUSE IF YOU ARE EXPERIENCING FLU-LIKE SYMPTOMS such as a

 3 cough, fever, or shortness of breath, or if you have been in contact with anyone who has

 4 been recently diagnosed with a COVID-19 infection. Refer to Temporary General Order

 5 2020-02 for additional courthouse-access policies and procedures.
                  October 19, 2020
 6        Dated: _____________________

 7
                                                        _________________________________
 8                                                      U.S. District Judge

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23



                                                2
